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                           EXHIBIT 8
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division

     UNITED STATES OF AMERICA,                  )
                                                )
                Plaintiff,                      )   CR. NO. 05-53
                                                )
          vs.                                   )
                                                )
     AHMED OMAR ABU ALI,                        )
                                                )
                          Defendant.            )
                                                )


                      TRANSCRIPT OF MOTIONS

                          October 28, 2005


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     BEFORE:          THE HONORABLE GERALD BRUCE LEE
                      UNITED STATES DISTRICT JUDGE


     APPEARANCES:

     FOR THE GOVERNMENT: OFFICE OF THE UNITED STATES ATTORNEY
                         BY: DAVID LAUFMAN, ESQ.
                             STEPHEN CAMPBELL, ESQ.
                             MARLA TUSK, ESQ.
                             JERRY DEMAIO, ESQ. (DOJ)
                         2100 Jamieson Ave.
                         Alexandria, Virginia 22314


     FOR THE DEFENDANT:        ASHRAF NUBANI, ESQ.




                                         ---

     OFFICIAL COURT REPORTER: RENECIA A. SMITH-WILSON,RMR,CRR
                              U.S. District Court
                              401 Courthouse Square
                              Alexandria, VA 22314



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 1   him an expert.       And, the fact that the government has

 2   hired him to testify as an expert witness in cases

 3   including U.S. versus Battleford, Benkahla, Randall

 4   Royer, Massoud, Al-Tamimi does not with this Judge sit

 5   as a basis to qualify him as an expert in al-Qaeda,

 6   particularly where he has had no contact with someone

 7   from al-Qaeda.

 8                  All he has done is to read about it.               My

 9   jury could do an Internet search on Google and read

10   about al-Qaeda.

11                  I'm sure that Mr. Kohlmann could probably

12   summarize it for them in a way that could be very

13   helpful, but I'm not of the opinion that Mr. Kohlmann is

14   an expert because he is not qualified by training,

15   because he has none other than what he is self taught.

16                  He has not qualified because of the methods

17   that he's gathered his information, reading the Internet

18   and reading books in and of itself may be a way to learn

19   engineering, but at some point, the engineer has to

20   actually handle a device.

21                  Here we have a person who has just read

22   about these things and is being offered to tell the

23   Court about a cell, the Ali Abdi Alramian al-Fak'asi

24   cell and the Sultan Jubran cell.            He is going to make a

25   judgment that these cell were al-Qaeda cells.




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                                                                       29


 1                  He'd never been to Saudi Arabia, never

 2   interviewed any one from either of these cells, has no

 3   personal knowledge about whether these cell were

 4   affiliated with al-Qaeda or anyone else.

 5                  So for all those reasons, the motion to

 6   exclude Mr. Kohlmann's testimony will be granted.

 7   Exception's preserved.

 8                  I think that that covers what we have for

 9   trial, so I'll see you all on Monday at 10 o'clock.

10                  We're in recess.       Thank you.

11                  (Proceeding concluded at 1:04 p.m.)

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                      RENECIA A. SMITH-WILSON, RMR, CRR
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 1                      CERTIFICATE OF REPORTER

 2

 3                    I, Renecia Wilson, an official court

 4   reporter for the United State District Court of

 5   Virginia, Alexandria Division, do hereby certify that I

 6   reported by machine shorthand, in my official capacity,

 7   the proceedings had upon the motions in the case of

 8   United States of America vs. Ahmed Omar Abu Ali.

 9                    I further certify that I was authorized and

10   did report by stenotype the proceedings and evidence in

11   said motions, and that the foregoing pages, numbered 1

12   to 29, inclusive, constitute the official transcript of

13   said proceedings as taken from my shorthand notes.

14                    IN WITNESS WHEREOF, I have hereto

15   subscribed my name this 19th day of January , 2010.

16

17                                                /s/
                                          Renecia Wilson, RMR, CRR
18                                        Official Court Reporter

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                      RENECIA A. SMITH-WILSON, RMR, CRR
